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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION


STATE OF TEXAS; STATE OF
LOUISIANA,                                        Civ. Action No. 6:21-cv-00016


                      Plaintiffs,

       v.

The UNITED STATES OF AMERICA;
ALEJANDRO MAYORKAS, Secretary of the
United States Department of Homeland
Security, in his official capacity; UNITED
STATES DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior Official
Performing the Duties of the Commissioner of
U.S. Customs and Border Protection, in his
official capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official capacity;
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT;          TRACY        RENAUD,
Senior Official Performing the Duties of the
Director of the U.S. Citizenship and
Immigration Services, in her official capacity;
U.S. CITIZENSHIP AND IMMIGRATION
SERVICES,

                      Defendants.


            PLAINTIFFS’ MOTION FOR EXTRA-RECORD DISCOVERY
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                                          INTRODUCTION

        On September 1, 2021, the Parties filed a Joint Advisory to address the Court’s questions

raised in the hearing held on August 23, 2021. ECF No. 97. That submission articulated the Parties’

divergent views on the propriety of discovery in this case and set out a schedule for party

submissions to assist the Court in making a determination on that issue. On September 8, 2021,

Defendants filed the administrative record, triggering the agreed timing of this Motion. ECF No.

99.

                                  SUMMARY OF THE ARGUMENT

        Plaintiffs move the Court to approve discovery in this case. Defendants claim discovery is

improper and assert that this is a case under the Administrative Procedure Act (APA), and the bare

administrative record is therefore sufficient for trial on the merits. They rely on the “record rule”

that precludes evidence outside the administrative record but (1) that rule does not apply to many

of the issues for the Court’s consideration at trial; and (2) even where the record rule does apply,

it is subject to important exceptions that are applicable here.

                                            ARGUMENT

        Parties are entitled to discovery of “any nonprivileged matter that is relevant to any party’s

claim or defense and proportional to the needs of the case.” The term “relevant” in Rule 26 is

“construed broadly to encompass any matter that bears on, or that reasonably could lead to other

matter that could bear on, any issue that is or may be in the case.” Oppenheimer Fund, Inc. v.

Sanders, 437 U.S. 340, 351 (1978). Although “[i]nformation within this scope of discovery need

not be admissible in evidence to be discoverable,” Fed. R. Civ. P. 26(b)(1), as explained below,

information subject to discovery on various issues is admissible evidence at trial and not precluded

by the record rule. Discovery on these matters is therefore proper despite the general rule that

claims under the APA are limited to review of the administrative record.

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       In an APA action, the Supreme Court has explained that the “whole record” standard for

review, 5 U.S.C. § 706, requires the court to conduct a “thorough, probing, in-depth review.”

Citizens to Pres. Overton Park v. Volpe, 401 U.S. 402, 415 (1971); see also id. at 413-14 n.30,

419. In conducting this review, “[t]he court may require the administrative officials who

participated in the decision to give testimony explaining their action.” Id. at 420. And although

“inquiry into the mental processes of administrative decisionmakers is usually to be avoided,” id.

(citing United States v. Morgan, 313 U.S. 409 (1941)), such inquiry “may be necessary” to

determine “if the Secretary’s action was justifiable under the applicable standard.” Id.

       Defendants in this very case implicitly recognized this rule when they submitted two

declarations—extra-record evidence—in support of their opposition to the preliminary injunction

motion. ECF Nos. 42-5, 42-6. They used these declarations to claim the challenged memoranda

are exempt from notice-and-comment rulemaking requirements, ECF No. 42 at 33–36 & n. 5; to

oppose Plaintiffs’ Article III standing, ECF No. 42 at 11; to argue the public interest factors do not

support injunctive relief, ECF No. 42 at 41–43; and to argue against the propriety of a positive (or

mandatory) injunction to compel agency action unlawfully withheld, ECF No. 42 at 43–45. Yet

Defendants claim that Plaintiffs may not obtain discovery on these same issues—in the same

case—because this litigation is limited solely to the contents of the administrative record.

Defendants’ proposed double standard is not the law.

       In its order granting Plaintiffs’ motion for preliminary injunction, this Court has also

previously recognized that extra-record evidence was both relevant in that stage and will be at trial.

See ECF No. 79 at 23 & n. 16 (citing evidence submitted by Texas on dropped detainers and noting

that “at the preliminary injunction phase,” it would accept hearsay statement of ICE officials on

effect of memoranda on detainers, implying other evidence on this score would be needed at trial);



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id. at 41 (relying on Texas’s evidence of mobility of aliens among states to evaluate impact of

challenged memoranda); id. at 60 (relying on other litigation, outside the administrative record, to

evaluate whether final agency action was present); id. at 148–50 (evaluating Defendants’ evidence

of harm—including inhibiting their ability to prioritize limited resources and causing confusion

among subordinates—for balance of equities and public interest factors for preliminary

injunction); id. at 155 (evaluating evidence of mobility of aliens in determining geographic scope

of injunction); id. at 156 n. 61 (“reserv[ing] ruling on this issue [of positive injunction to compel

agency action unlawfully withheld] until later in the litigation”). Plaintiffs are entitled to bolster

the extra-record evidence they submitted at the preliminary injunction stage with evidence within

the possession of Defendants relevant to these issues. Discovery is necessary for the Court to be

presented with the relevant evidence it needs at trial.

       The Court’s order imposing reporting requirements on Defendants regarding how they are

implementing their detention requirements, ECF No. 79 at 158–59, is also consistent with this

view. See ECF No. 90 at 3–4 (“the Court is using the reporting requirements as a case-management

tool to monitor compliance and gather information that would be relevant and helpful for the Court

in making a final determination at trial”). Plaintiffs are entitled to discovery on the information

subject to the reporting requirements for the same reason the Court has determined it to be relevant

for trial, among other issues.

I. The Record Rule Does Not Limit the Evidence Available to Resolve Many Questions

       At its core, the record rule is about arbitrary-and-capricious review. “In applying [the

arbitrary-and-capricious] standard, the focal point for judicial review should be the administrative

record already in existence, not some new record made initially in the reviewing court.” Camp v.

Pitts, 411 U.S. 138, 142 (1973). “The purpose of the Administrative Record rule during judicial

review of the merits of an agency action is to prevent the Court from substituting its judgment for

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that of the agency.” N.M. Cattle Growers Ass’n v. U.S. Fish & Wildlife Serv., No. 1:02-cv-199,

2004 WL 3426421, at *5 (D.N.M. Aug. 31, 2004). Thus, the record rule does not govern issues

like standing or other jurisdictional issues, the non-merits factors for injunctive relief, or non-

arbitrary-and-capricious claims. See Public Power Council v. Johnson, 674 F.2d 791, 793 (9th Cir.

1982) (Kennedy, J.) (“even when judicial review is confined to the record of the agency, as in

reviewing informal agency actions, there may be circumstances to justify expanding the record or

permitting discovery”).

             A. The Record Rule Does Not Apply to Jurisdictional Issues

         The record rule does not apply to non-merits issues like subject matter jurisdiction,

including standing and whether there is final agency action required for claims under the APA.1

Evidence about such issues does not implicate the record rule because courts consider it “not in

order to supplement the administrative record on the merits, but rather to determine [their own]

jurisdiction.” Nw. Envtl. Def. Ctr. v. Bonneville Power Admin., 117 F.3d 1520, 528 (9th Cir. 1997);

see also Sierra Club v. Yeutter, 911 F.2d 1405, 1421 (10th Cir. 1990). In fact, courts routinely rely

on extra-record evidence to support jurisdiction in APA cases. See, e.g., Monsanto Co. v. Geertson

Seed Farms, 561 U.S. 139, 153–54 (2010) (relying on declarations to find that plaintiffs had Article

III standing in an APA case); Theodore Roosevelt Conservation P’ship v. Salazar, 616 F.3d 497,

507 (D.C. Cir. 2010) (same).

         Courts also permit plaintiffs discovery to obtain such evidence relevant to the question of

whether there is a final agency action under the APA. See, e.g., Glenwood Springs Citizens’ All.

v. United States DOI, Civil Action No. 20-cv-00658-CMA, 2021 WL 916002, at *1–2 (D. Colo.

Mar. 10, 2021) (ordering limited discovery in an APA case regarding the “factual question as to


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 See Qureshi v. Holder, 663 F.3d 778, 781 (5th Cir. 2011) (“if there is no final agency action, a federal court lacks
subject matter jurisdiction”).

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whether Defendants engaged in any action that would be subject to review under the APA”); Doe

1 v. Nielsen, No. 18-cv-02349-BLF(VKD), 2018 WL 4266870, at *1–3 (N.D. Cal. Sept. 7, 2018)

(permitting limited jurisdictional discovery in an APA case where “discovery of the nature of the

agency action issue is necessary in order for the parties and the Court to determine the scope of

the administrative record to be produced”); Grand Canyon Tr. v. Williams, No. CV13-8045, 2013

WL 12176992, at *1 (D. Ariz. Sept. 9, 2013) (permitting written discovery for plaintiffs to develop

facts to demonstrate final agency action).

         Any other rule would make it impossible to challenge unlawful agency action. An

administrative record certified by a federal agency will not often include evidence of standing or

whether a final agency action has occurred. See Nw. Envtl. Def. Ctr., 117 F.3d at 1527–28 (“Article

III’s standing requirement does not apply to agency proceedings,” so there is “no reason to include

facts sufficient to establish standing as a part of the administrative record. Only when a plaintiff

“later seeks judicial review, [does] the constitutional requirement that it have standing kick[] in.”).

As litigation proceeds, plaintiffs must “supplement the record to the extent necessary to explain

and substantiate [their] entitlement to judicial review.” Sierra Club v. EPA, 292 F.3d 895, 899–

900 (D.C. Cir. 2002). Plaintiffs are entitled to seek jurisdictional discovery in this case for the

same reasons.

             B. The Record Rule Does Not Apply to Remedial Questions

         The record rule also does not limit the evidence this Court can consider when determining

the propriety and scope of injunctive relief at trial. “[I]n cases where relief is at issue, especially

at the preliminary injunction stage,” courts may consider extra-record evidence. Esch v. Yeutter,

876 F.2d 976, 991 (D.C. Cir. 1989). 2 When the Northern District announced the same rule, see


2
 At the trial on the merits, the Court will consider whether a permanent injunction should issue, and the considerations
are the same as for issuing a preliminary injunction “with the exception that the plaintiff must show a likelihood of

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Davis Mountains Trans-Pecos Heritage Ass’n v. U.S. Air Force, 249 F. Supp. 2d 763, 776 (N.D.

Tex. 2003), the Fifth Circuit concluded that “the district court correctly stated the law.” Davis

Mountains Trans-Pecos Heritage Ass’n v. FAA, 116 F. App’x 3, 16 (5th Cir. 2004) (citing 249 F.

Supp. 2d at 775–76 and reversing on other grounds); accord Nat’l Fed’n of Indep. Bus. v. Perez,

No. 5:16-cv-66-C, 2016 WL 3766121, at *23 (N.D. Tex. June 27, 2016) (Cummings, J.).

        The APA thus permits courts to assess “the balance of the equities and the public interest”

for injunctive relief using extra-record evidence. East Bay Sanctuary Covenant v. Trump, 354 F.

Supp. 3d 1094, 1106–08 (N.D. Cal. 2018), aff’d, 950 F.3d 1242 (9th Cir. 2020), aff’d sub

nom. East Bay Sanctuary Covenant v. Biden, 993 F.3d 640 (9th Cir. 2021). There would be no

other way to do it, as “injunctive relief is generally not raised in the administrative proceedings

below and, consequently, there usually will be no administrative record developed on these

issues.” Eco Tour Adventures, Inc. v. Zinke, 249 F. Supp. 3d 360, 369 n.7 (D.D.C. 2017) (quotation

omitted). “Thus, it will often be necessary for a court to take new evidence to fully evaluate claims

of irreparable harm and claims that the issuance of the injunction is in the public interest.” Id.

(quotation omitted).

             C. The Record Rule Does Not Apply to Most of Plaintiffs’ Claims

        “The record rule’s purpose is to guard against courts using new evidence to convert the

arbitrary and capricious standard into effectively de novo review.” Euzebio v. McDonough, 989

F.3d 1305, 1322 (Fed. Cir. 2021) (cleaned up). That purpose does not apply to Plaintiffs’ other

claims, which do not depend on the arbitrary-and-capricious standard.

        None of Plaintiffs’ claims, other than their arbitrary-and-capricious claim, turn on the

“judgment . . . of the agency,” so “[t]he purpose of the Administrative Record rule” is not


success on the merits rather than actual success” at the preliminary stage. Amoco Prod. Co. v. Vill. of Gambell, 480
U.S. 531, 546 n.12 (1987).

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implicated. N.M. Cattle Growers Ass’n, 2004 WL 3426421, at *5. In those claims, Plaintiffs are

not arguing that an administrative “finding is not sustainable on the administrative record made.”

Camp, 411 U.S. at 143. Instead, Plaintiffs argue that the memoranda issued by Defendants violate

federal statutory provisions, ECF No. 1 at 21–24 (Counts I & II), the Constitution, id. at 27 (Count

VI), and a binding agreement, id. at 26–27 (Count V), questions Defendants did not consider in

the administrative record.

       A court reviewing the constitutionality of agency action, for example, must make “an

independent assessment of a citizen’s claim of constitutional right.” Porter v. Califano, 592 F.2d

770, 780 (5th Cir. 1979). Because “[a] direct constitutional challenge is reviewed independent of

the APA,” a “court is entitled to look beyond the administrative record in regard to this claim.”

Grill v. Quinn, No. 2:10-cv-757, 2012 WL 174873, at *2 (E.D. Cal. Jan. 20, 2012). The “Supreme

Court has held that a plaintiff who is entitled to judicial review of its constitutional claims under

the APA is entitled to discovery in connection with those claims.” Puerto Rico Pub. Hous. Admin.

v. U.S. Dep’t of Hous. & Urban Dev., 59 F. Supp. 2d 310, 328 (D. P.R. 1999) (citing Webster v.

Doe, 486 U.S. 592, 604 (1988)); see also Jordan v. Wiley, No. 1:07-cv-498, 2008 WL 4861923,

at *2 (D. Colo. Nov. 10, 2008) (allowing a plaintiff to pursue discovery on constitutional claims

while adjudication of APA claims was pending); Rydeen v. Quigg, 748 F. Supp. 900, 906 (D.D.C.

1990) (permitting plaintiffs to rely on extra-record written testimony because “[w]hen reviewing

constitutional challenges to agency decisionmaking, courts make an independent assessment of

the facts and the law”).

       Plaintiffs can assert each of their claims, with the exception of their arbitrary-and-

capricious claim, ECF No. 1 at 24–25 (Count III), and the notice-and-comment claim, id. at 26

(Count IV), without the APA. See ECF No. 18 at 26 (explaining that Plaintiffs have a claim “at



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equity” outside the APA); ECF No. 51 at 12–13 (same); ECF No. 1-3, Ex. C § 8 (providing that

violations of the agreement between DHS and Texas “may be adjudicated in a United States

District Court located in Texas”); 33 Charles Alan Wright, et al., Federal Practice and Procedure

§ 8304 (2d ed.) (describing “nonstatutory review of agency action” that does not depend on the

APA).

        In a recent immigration case where Texas made similar claims against the Biden

Administration’s rescission of the Migrant Protection Protocols (MPP) program, Judge Kacsmaryk

denied a DOJ motion to strike Texas’s evidence on the ground of the record rule, on the basis that

such claims that can be raised outside the APA—through a cause of action “at equity”—and are

therefore not limited by the record rule. Texas v. Biden, No. 2:21-cv-067-Z (N.D. Tex.), ECF No.

76 at 6–10 (attached as Ex. A). The same reasoning applies to such claims here.

        Courts likewise have held that the record rule does not apply to claims seeking to “compel

agency action unlawfully withheld or unreasonably delayed,” 5 U.S.C. § 706(1), claims Plaintiffs

also raise here. See ECF No. 1 at 21–23 (Count I); see also ECF No. 79 at 156 n. 61 (granting

preliminary injunction but “reserv[ing] ruling on this issue [of positive injunction to compel

agency action unlawfully withheld] until later in the litigation”). This is because “when a court

considers a claim that an agency has failed to act,” there is “no final agency action that closes the

administrative record or explains the agency’s [in]action[].” San Francisco BayKeeper v.

Whitman, 297 F.3d 877, 886 (9th Cir. 2002). “Said another way, if an agency fails to act, there is

no ‘administrative record’ for a federal court to review.” Nat’l Law Ctr. on Homelessness &

Poverty v. U.S. Dep’t of Veterans Affairs, 842 F. Supp. 2d 127, 130 (D.D.C. 2012). And “if the

agency never takes action,” the “benefits of agency expertise and creation of a record”—

considerations which underpin the record rule—“will not be realized.” Telecomms. Research &



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Action Ctr. v. FCC, 750 F.2d 70, 79 (D.C. Cir. 1984). Discovery is therefore proper on this ground

as well.

II. The Record Rule Is Far Narrower than Defendants Contend, Even When Evaluating
    Agency Decisionmaking

       Even where the record rule applies, it “is not without exceptions.” Euzebio v. McDonough,

989 F.3d 1305, 1322 (Fed. Cir. 2021). The exceptions are applied in light of “[t]he record rule’s

purpose”: “to guard against courts using new evidence to convert the arbitrary and capricious

standard into effectively de novo review—not to preclude effective judicial review entirely.” Id.

(cleaned up). Thus, “in certain circumstances a court may permit supplementation of the record or

the introduction of extra-record evidence to enable effective judicial review.” Gulf Coast Rod Reel

& Gun Club, Inc. v. U.S. Army Corps of Engineers, No. 3:13-cv-126, 2015 WL 1883522, at *1

(S.D. Tex. Apr. 20, 2015) (Costa, J.).

       The Fifth Circuit has identified three circumstances in which consideration of extra-record

evidence is appropriate:

       (1) the agency deliberately or negligently excluded documents that may have been
       adverse to its decision,

       (2) the district court needed to supplement the record with “background
       information” in order to determine whether the agency considered all of the relevant
       factors, or

       (3) the agency failed to explain administrative action so as to frustrate judicial
       review.

Medina Cty. Envtl. Action Ass’n v. Surface Transp. Bd., 602 F.3d 687, 706 (5th Cir. 2010)

(alteration omitted). But this list is not exhaustive and “did not explicitly purport to overrule prior

decisions concerning exceptions.” Gulf Coast, 2015 WL 1883522, at *3. Courts have also

recognized a more detailed list of “eight exceptions”:

               (1) when agency action is not adequately explained in the record
               before the court;

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               (2) when the agency failed to consider factors which are relevant to
               its final decision;

               (3) when an agency considered evidence which it failed to include
               in the record;

               (4) when a case is so complex that a court needs more evidence to
               enable it to understand the issues clearly;

               (5) in cases where evidence arising after the agency action shows
               whether the decision was correct or not;

               (6) in cases where agencies are sued for a failure to take action;

               (7) in cases arising under NEPA; and

               (8) in cases where relief is at issue, especially at the preliminary
               injunction stage.

Id. at *2 (footnote omitted); accord Nat’l Fed’n of Indep. Bus. v. Perez, No. 5:16-cv-00066-C,

2016 WL 3766121, *23 (N.D. Tex. June 27, 2016) (Cummings, J.).

       Most importantly here, courts allow extra-record evidence when it is necessary to

determine whether the agency “considered all the relevant factors.” Envtl. Def. Fund, Inc. v. Costle,

657 F.2d 275, 285 (D.C. Cir. 1981). “[A]n adequate record can sometimes only be determined ‘by

looking outside the [administrative record] to see what the agency may have ignored.’” Davis

Mountains, 249 F. Supp. 2d at 776 (quoting Cty. of Suffolk v. Sec’y of Interior, 562 F.2d 1368,

1384 (2d Cir. 1977)); see also Davis Mountains, 116 F. App’x at 15–16 (finding district court

abused its discretion by excluding extra-record evidence “necessary to determine” whether agency

“took a hard look” at a factor).

       “[I]t will often be impossible, especially when highly technical matters are involved, for

the court to determine whether the agency took into consideration all relevant factors unless it

looks outside the record to determine what matters the agency should have considered but did not.”

Asarco, Inc. v. EPA, 616 F.2d 1153, 1160 (9th Cir. 1980). Consideration of extra-record evidence

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is also permitted “when supplementing the record is necessary to explain technical terms or

complex subject matter.” Lands Council v. Powell, 395 F.3d 1019, 1030 (9th Cir. 2005)

(quotations omitted).

       Thus, courts may supplement the administrative record with “affidavits, depositions, or

other proof of an explanatory nature” if necessary to “explain the record and [] determine the

adequacy of the procedures followed and the facts considered” by the agency. Arkla Expl. Co. v.

Tex. Oil & Gas Corp., 734 F.2d 347, 357 (8th Cir. 1984); see also, e.g., Sierra Club v. Marsh, 976

F.2d 763, 772 (1st Cir. 1992); United States v. Akzo Coatings of Am., Inc., 949 F.2d 1409, 1428

(6th Cir. 1991). In other words, such evidence is admissible “to educate the court and to illuminate

the administrative record, not to substitute the court’s judgment for the [agency’s].” Arkla Expl.

Co., 734 F.2d at 357; see also San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 993

(9th Cir. 2014). Such extra-record evidence is particularly appropriate in cases not involving

formal adjudications or rulemakings—such as here—where Plaintiffs lacked an “opportunity to

submit such evidence” into the administrative record. Oceana, Inc. v. Pritzker, 126 F. Supp. 3d

110, 113–14 (D.D.C. 2015).

       This approach makes sense. The administrative record lists “the nonprivileged documents

considered by ICE in issuing the February 18, 2021 Interim Guidance.” ECF No. 99-1

(certification). One of the key issues for trial is whether Defendants ignored critical factors in the

challenged memoranda. See ECF No. 79 at 105–27 (examining this claim in granting preliminary

injunction). That such information is not in the administrative record is not only no surprise but

evidence that the memoranda are arbitrary and capricious. Precluding discovery on this issue

would “preclude effective judicial review entirely” by keeping hidden evidence of the information

they ignored precisely because they ignored it. Euzebio, 989 F.3d at 1322 (cleaned up).



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       Evidence is also relevant “to enable effective judicial review . . . when agency action is not

adequately explained in the record before the court and [because this] case is so complex that a

court needs more evidence to enable it to understand the issues clearly.” Gulf Coast, 2015 WL

1883522, at *2. For example, as the Court has previously noted, a key issue in determining whether

the challenged memoranda were subject to the requirements of notice-and-comment rulemaking

is whether the memoranda’s convoluted top-down permission structure for routine enforcement

makes them legislative rules rather than excepted policy statements. ECF No. 79 at 135. Thus, the

Court can consider extra-record evidence concerning Defendants’ detention practices, even though

they omitted this information from the administrative record.

       This use of extra-record evidence has been permitted in APA cases, including cases

involving immigration issues. Courts reviewing the lawfulness of both DAPA and DACA have

considered evidence outside the administrative record. See Texas v. United States, 86 F. Supp. 3d

591, 666–670 (S.D. Tex. 2015) (considering evidence of the exercise of discretion actually applied

to evaluate whether DAPA violated the APA); Texas v. United States, 809 F.3d 134, 171–76 (5th

Cir. 2015) (same). This Court has done the same. See Texas v. United States, 328 F. Supp. 3d 662,

732–34 (S.D. Tex. 2018) (considering evidence of the exercise of discretion to evaluate whether

DACA violated the APA); indeed, it has done so in a recent challenge to a different provision of

one of the memoranda challenged here. Texas v. United States, No. 6:21-cv-3, 2021 WL 2096669,

at *12–19, 42–45, 47–50 (S.D. Tex. Feb. 23, 2021) (Tipton, J.) (relying on extra-record evidence

to grant a preliminary injunction). The record rule does not prohibit the same process here.

                                          CONCLUSION

       Plaintiffs respectfully request that the Court allow discovery in this case.




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Date: September 15, 2021           Respectfully submitted.

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                                  CERTIFICATE OF COMPLIANCE

       I certify that the total of words in this motion, exclusive of the matters designated for
omission, is 3997, as counted by Microsoft Word.

                                              /s/Ryan D. Walters
                                              RYAN D. WALTERS

                                 CERTIFICATE OF CONFERENCE

       I certify that on September 14, 2021, I conferred with counsel for Defendants, who
represented that Defendants are opposed to this motion.

                                              /s/Ryan D. Walters
                                              RYAN D. WALTERS

                                    CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on September 15, 2021, which automatically serves all counsel of record who are
registered to receive notices in this case.

                                              /s/Patrick K. Sweeten
                                              PATRICK K. SWEETEN




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